         Case 8:19-bk-13584-TA Doc 23 Filed 09/18/19 Entered 09/18/19 21:47:46                                               Desc
                             Imaged Certificate of Notice Page 1 of 2
                                              United States Bankruptcy Court
                                             Central District of California
In re:                                                                                                     Case No. 19-13584-TA
Coastal International, Inc.                                                                                Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0973-8                  User: jroqueC                      Page 1 of 1                          Date Rcvd: Sep 16, 2019
                                      Form ID: def                       Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 18, 2019.
db             +Coastal International, Inc.,   2832 B Walnut Avenue,   Tustin, CA 92780-7002

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 18, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 15, 2019 at the address(es) listed below:
              Jeffrey I Golden   on behalf of Debtor   Coastal International, Inc. jgolden@wgllp.com,
               kadele@wgllp.com;vrosales@lwgfllp.com;cbmeeker@gmail.com
              United States Trustee (SA)   ustpregion16.sa.ecf@usdoj.gov
                                                                                            TOTAL: 2
         Case 8:19-bk-13584-TA Doc 23 Filed 09/18/19 Entered 09/18/19 21:47:46                                         Desc
                             Imaged Certificate of Notice Page 2 of 2
                                          United States Bankruptcy Court
                                           Central District of California
In re:                                                              CHAPTER NO.:   11
Coastal International, Inc.
dba Coastal International Convention Services                       CASE NO.:   8:19−bk−13584−TA

                                NOTICE OF CASE DEFICIENCY
                    UNDER 11 U.S.C. § 521(a)(1) AND BANKRUPTCY RULE 1007
To Debtor and Debtor's Attorney of Record,
Pursuant to F.R.B.P. 1007, you must file the following documents within 14 days from the date of the filing of your
petition. Your case may be dismissed if you fail to do so.
Summary(Form 106Sum or 206Sum)
Schd A/B(Form106A/B or 206A/B)
Eq. Sec. Hold. List
Schedule D (Form 106D or 206D)
StmtFinAffairs(Form107 or 207)
Schd E/F(Form106E/F or 206E/F)
Schedule G (Form 106G or 206G)
Schedule H (Form 106H or 206H)




The Revised Official Bankruptcy Forms are mandatory and are available at www.cacb.uscourts.gov/forms

According to Bankruptcy Rule 1007(c), within 14 days after you filed the petition, YOU MUST EITHER:

(1)      File the required documents. If the document is filed electronically, no hard copy need to be submitted to the court.
         (See Local Bankruptcy Rule 5005−2(d) and Court Manual, Appendix "F" as to whether a copy must be served on the
         judge.)
OR
(2)      File and serve a motion for an order extending the time to file the required document(s).

IF YOU DO NOT COMPLY, in a timely manner with either of the above alternatives, your case may be the subject of an order to
show cause to dismiss the case. Motion for extension of time to file schedules and other papers shall comply with Local
Bankruptcy Rule 1007−1, and shall be supported by admissible evidence demonstrating cause for the requested extension.




Dated: September 15, 2019                                                       For the Court
                                                                                Kathleen J. Campbell
                                                                                Clerk of Court




Form def − Rev 01/2018                                                                                                           1/
